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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF(S)

VS.                                    CASE NO. 13-40021

LAQUAN D. HAYNES                                                                  DEFENDANT(S)

                                            ORDER

       On January 31, 2014, the Court, following a hearing granted Ms. Teresa Bloodman’s Motion

to Withdraw as Counsel for the Defendant in this matter. ECF No. 49. As part of the Order granting

the Motion to withdraw the Court directed Ms. Bloodman as follows:

       The court relieves Ms. Bloodman as counsel for Defendant. Ms. Bloodman is

       directed to turn over to the United States Attorney’s Office any and all discovery

       material previously provided her by the Government.

At a hearing on today’s date to address the appointment of new counsel for Defendant, the Court

inquired as to the status of the return of any discovery materials to the Government. Counsel for the

Government stated he had not received any of the previously disclosed discovery materials back

from Ms. Bloodman since the hearing on January 31, 2014.

       IT IS THEREFORE ORDERED Ms. Teresa Bloodman, former counsel for defendant in

this matter shall turn over any and all discovery materials received by her from the Government in

this matter to Government’s Counsel not later than 12:00 pm on Thursday February 27, 2014.

Failure to comply with this Order may result in a Show Cause Order being entered and sanctions

being imposed against counsel.

       DATED this 20th day of February 2014.


                                                      /s/ Barry A. Bryant
                                                      HONORABLE BARRY A. BRYANT
                                                      U.S. MAGISTRATE JUDGE
